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11   Attorneys for Defendant
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12
                                 IN THE UNITED STATES DISTRICT COURT
13
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN FRANCISCO DIVISION
15
     ALEXIS HUNLEY, et al.,                           Case No. 21-CV-03778-CRB
16
                                  Plaintiffs,         JOINT STIPULATION TO EXTEND TIME
17                                                    TO RESPOND TO INITIAL COMPLAINT
            v.                                        (L.R. 6-1)
18
     INSTAGRAM, LLC,                                  Ctrm: 6
19                                                    Judge: Honorable Charles R. Breyer
                                  Defendant.
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           JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT / CASE NO. 21-CV-
                                               03778-CRB
               Case 3:21-cv-03778-CRB Document 14 Filed 06/17/21 Page 2 of 3



 1          Pursuant to Civil Local Rule 6-1, Defendant Instagram, LLC (“Defendant”) and Plaintiffs Alexis

 2   Hunley and Matthew Scott Brauer, individually and on behalf of all others similarly situated

 3   (“Plaintiffs”) (collectively, the “Parties”), hereby stipulate that Defendant shall have until July 16, 2021,

 4   to respond to Plaintiffs’ Complaint. This stipulated extension of time to respond will not conflict with

 5   any deadline fixed by the Court, and therefore, pursuant to Local Rule 6-1(a), no court order is necessary

 6   for this enlargement of time.

 7

 8   Dated: June 16, 2021                                  DURIE TANGRI LLP

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                                                     By:                    /s/ Joseph C. Gratz
10                                                                        RAGESH K. TANGRI
                                                                           JOSEPH C. GRATZ
11                                                                       ALLYSON R. BENNETT
                                                                              ANNIE A. LEE
12
                                                           Attorneys for Defendant
13                                                         INSTAGRAM, LLC
14
     Dated: June 16, 2021                                  CERA LLP
15

16                                                   By:                    /s/ Solomon B. Cera
                                                                           SOLOMON B. CERA
17                                                                         THOMAS C. BRIGHT
                                                                          PAMELA A. MARKERT
18
                                                           Attorneys for Plaintiffs
19                                                         ALEXIS HUNLEY and MATTHEW SCOTT BRAUER,
                                                           Individually and On Behalf of All Others Similarly
20                                                         Situated
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            JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT / CASE NO. 21-CV-
                                                03778-CRB
              Case 3:21-cv-03778-CRB Document 14 Filed 06/17/21 Page 3 of 3



 1                                       CIVL L.R. 5-1 ATTESTATION

 2          Pursuant to Civil L.R. 5-1(i)(3), regarding signatures, I, Joseph C. Gratz, attest that concurrence

 3   in the filing of this document has been obtained.

 4
                                                                       /s/ Joseph C. Gratz
 5                                                                   RAGESH K. TANGRI
                                                                      JOSEPH C. GRATZ
 6                                                                  ALLYSON R. BENNETT
                                                                         ANNIE A. LEE
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            JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT / CASE NO. 21-CV-
                                                03778-CRB
